
PER CURIAM.
Herman Haughbrook appeals the denial of his motion brought pursuant to Florida Rule of Criminal Procedure 3.850. The trial court properly rejected his motion because it was not properly sworn. The denial of his claim is, however, without prejudice, and he may refile a properly sworn motion in the trial court. Anderson v. State, 627 So.2d 1170 *640(Fla.1993). Haughbrook may refile his motion within 30 days from the date of this opinion and such a prompt refiling will not be time barred. Miller v. State, 617 So.2d 332 (Fla. 2d DCA 1993).
THREADGILL, C.J., and QUINCE and WHATLEY, JJ., concur.
